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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           :
UNITED STATES OF AMERICA,                  :
                                           :
                  Plaintiff,               : Court No.: 20-03628
            v.                             :
                                           :
AEGIS SECURITY INSURANCE CO.,              :
                                           :
                  Defendant.               :
_________________________________________ :

      PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
  ITS CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION
    TO DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS



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Dated: April 23, 2021
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
__________________________________________
                                           :
UNITED STATES OF AMERICA,                  :
                                           :
                  Plaintiff,               : Court No.: 20-03628
            v.                             :
                                           :
AEGIS SECURITY INSURANCE CO.,              :
                                           :
                  Defendant.               :
_________________________________________ :

          PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
      ITS CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION
        TO DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS

       Plaintiff, the United States of America (the Government), respectfully submits this reply

memorandum of law in support of our cross-motion for summary judgment and in opposition to

the motion for judgment on the pleadings filed by defendant, Aegis Security Insurance Company

(Aegis). This action was commenced pursuant to 28 U.S.C. § 1582(2) against Aegis to recover

unpaid antidumping duties under a continuous customs bond. We respectfully request that this

Court enter judgment against defendant, Aegis, for duties and interest pursuant to 19 U.S.C. §

1505 in the total amount of $50,000.00 — the contractual limit of the bond — and interest

pursuant to 19 U.S.C. § 580 and post-judgment interest pursuant to 28 U.S.C. § 1961, which are

not subject to the bond limits.

I.     INTRODUCTION

       This action seeks to recover upon a $50,000.00 continuous customs bond issued by Aegis

that secured the importation of ten entries of fresh garlic imported by Linyi Sanshan Import &

Export Co. (Linyi) from the People’s Republic of China (China). The entries were subject to an

antidumping duty order on certain fresh garlic from China issued by the U.S. Department of
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Commerce (Commerce). After being billed by U.S. Customs and Border Protection (CBP),

Linyi failed to pay the outstanding duties and interest, and consequently, pursuant to the terms

and conditions of the continuous bond, CBP demanded payment from Aegis. Aegis has refused

to pay. Accordingly, the Government commenced this civil action against Aegis for breach of

the continuous bond it issued. See Compl. ¶¶5–36. In response, Aegis moved for judgment on

the pleadings and the Government cross-moved for summary judgment.

          The parties agree on the material facts at issue in this matter. See Def. Resp. Br. at 1; Pl.

Statement of Undisputed Facts (Pl. SOF) ¶¶1–38. Aegis did not respond to the Government’s

Statement of Undisputed Facts (See Dkt. No. 23 (April 1, 2021)) and therefore the Court should

deem all statements as admitted for the purposes of this motion pursuant to USCIT Rule

56(e)(2). See United States v. Harvic Int’l, Ltd., 427 F. Supp. 3d 1349, 1353 (Ct. Int’l Trade

2020).

          Although the parties agree on the material facts, Aegis disclaims liability from its

obligations under the bond it issued by contending that the statute of limitations has expired. See

Def. Br. at 3–7; Def. Resp. Br. at 4–5. According to Aegis, the Government’s cause of action

accrued when the entries at issue deemed liquidated, which was more than six years prior to the

commencement of this action. Def. Resp. Br. at 4–5.

          Aegis’s calculation as to the date of accrual is incorrect. Because a customs bond is a

contract, the U.S. Court of Appeals for the Federal Circuit (Federal Circuit) has held that a cause

of action to enforce its obligations accrues when the terms of the bond are breached. See Pl. Br.

at 13–26. In this case, the terms of the bond at issue were not breached by Aegis until CBP made

a demand for payment against Aegis and Aegis failed to pay the duties within the time required

by law.



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          Aegis disregards the significance of the demand for payment and focuses its attention on

the deemed liquidation of the entries and statutes that solely govern customs law. See Def. Resp.

Br. at 4–14. This analysis, however, fails to acknowledge the principles of contract and

suretyship law, which must be considered in this case.

          Although a liquidation or a deemed liquidation signifies the “final computation” of the

duties (19 C.F.R. § 159.1), a condition of the bond issued by Aegis is a demand for payment by

CBP. See Pl. Ex. 1 (incorporating 19 C.F.R. § 113.62(a)(1)(ii)). These bond terms are consistent

with the relevant statute, which indicates that the payment of the “[d]uties, fees, and interest

determined to be due upon liquidation or reliquidation” is not due until “30 days after issuance of

the bill for such payment.” 19 U.S.C. § 1505(b). Accordingly, based upon the terms of the

bond, Aegis was not in of breach the bond on the date of the deemed liquidations.

          In short, Aegis’s position conflates when to measure the date of accrual. Aegis argues

that it should be measured from the date of the deemed liquidation (i.e., the date when the

antidumping duties at issue were mathematically computed), but the law shows that it should be

measured from the date when Aegis breached the terms of the bond and became liable for the

duties.

          Therefore, the Government’s claims against Aegis accrued when the bills to Aegis

became delinquent, and we commenced this action within six years of this date.

II.       BECAUSE A BOND IS A CONTRACT, A CAUSE OF ACTION TO ENFORCE IT
          DOES NOT ACCRUE UNTIL ITS TERMS ARE BREACHED

          Aegis measures the date of accrual for the Government’s claims from the date that the

entries became deemed liquidated. Def. Resp. Br. at 4–14. However, by advancing this

measurement, Aegis disregards the rule that the accrual of a cause of action to recover upon a

bond is governed by the terms of the bond — similar to any other contract. See United States v.

                                                  3
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Cocoa Berkau, Inc., 990 F.2d 610, 613 (Fed. Cir. 1993); United States v. Commodities Export,

Co., 972 F.2d 1266, 1271 (Fed. Cir. 1992).

       Indeed, Aegis’s liability derives from the bond that it issued and the breach of its

contractual obligations thereunder. The date that the entries became deemed liquidated is not the

date when Aegis breached the terms of the bond. Rather, Aegis breached the terms of the bond

when CBP made a demand for payment against Aegis and Aegis failed to pay the duties within

the time required by law. It is at this point that the Government’s cause of action accrued.

    A. The Government’s Cause of Action Accrued When The Terms Of The Continuous
       Bond Were Breached

       “A customs bond is a contract entered into by (1) a principal, usually an importer or a

customs broker, (2) a surety, who agrees to guarantee payment of any liability arising from the

principal’s failure to comply with its obligations, and (3) Customs.” 1 United States v. Int’l

Fidelity Ins. Co., 273 F. Supp. 3d 1170, 1179 (Ct. Int’l Trade 2017) (citations omitted).

Principles of contract law apply to the obligations undertaken by parties to a bond. See

Restatement (Third) of Suretyship and Guaranty § 5 (1996) (“Unless inconsistent with the rules

in this Restatement, all other principles of law and equity, including the law of contracts . . . are

applicable to the transactions resulting in suretyship status.”).

       Specifically, where the Government is a party to a public bond, basic principles of

suretyship and contract law should be applied to resolve disputes arising thereunder. “The roles

and responsibilities of sureties — including the assumption of all legal rights — are well-defined

within contract law and are applicable to both private and public contracts.” Guarantee Co. of N.

Am. v. Ikhana, LLC, 941 F.3d 1140, 1145–48 (Fed. Cir. 2019) (Wallach, J., concurring, and in



1
 The principal and surety are obligors to the bond contract, and CBP is the beneficiary of the
bond.
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which Dyk, J., joins) (concluding that prior Federal Circuit decisions “were wrongly decided

because they bring Government contracting law into conflict with basic principles of suretyship

and contract law”); see also Alvin, Ltd. v. U.S. Postal Serv., 816 F.2d 1562, 1564 (Fed. Cir.

1987) (“The government enters into contracts as does a private person, and its contracts are

governed by the common law.”).

       Because a bond is a contract, a cause of action to enforce its obligations accrues when the

terms of the bond are breached. Cocoa Berkau, 990 F.2d at 613 (“With respect to a claim arising

from a bond, it is equally well settled that the date of accrual occurs at the time of the breach of

the bond.”) (citations omitted); see also Alder Terrace, Inc. v. United States, 161 F.3d 1372,

1377 (Fed. Cir. 1998) (“Generally, ‘[i]n the case of a breach of a contract, a cause of action

accrues when the breach occurs.’”) (citations omitted) (alteration in original).

       Here, to determine when Aegis breached the terms of the bond at issue, the Court must

“look to the language of the bond stipulating the relevant obligations of [the parties].” Cocoa

Berkau, 990 F.2d at 613. According to the language of the continuous bond, Aegis agreed to

“[p]ay, as demanded by CBP, all additional duties, taxes, and charges subsequently found due,

legally fixed, and imposed on any entry secured by this bond.” See Pl. Ex. 1 (emphasis added).

Therefore, only after a demand for payment by the Government and a subsequent default by

Aegis, are the terms of the subject bond breached with respect to the surety and a cause of action

accrues against it.

       Aegis misapprehends the significance of the deemed liquidation of the entries. For

example, Aegis states that the “obligation to pay antidumping duties was fixed by Commerce as

a consequence of the deemed liquidation of its entries, and Customs had no authority to alter the




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deemed liquidation or the amount of antidumping duties for which the importer is liable.” Def.

Resp. Br. at 12.

       We agree that CBP is obligated to “fix the final amount of duty to be paid on such

merchandise and determine any increased or additional duties, taxes, and fees due or any excess

of duties, taxes, and fees deposited.” 19 U.S.C. § 1500(c). We also agree that, when CBP failed

to liquidate the entries within six months after receiving notice of the removal of the suspension

of liquidation for the entries, the entries became deemed liquidated by operation of law. See Pl.

Br. at 5 n.4; 19 U.S.C. § 1504(d). When an entry liquidates by operation of law, the duties are

calculated using “the rate of duty, value, quantity, and amount of duty asserted by the importer of

record.” 19 U.S.C. § 1504(d).

       For this case, although the deemed liquidations of the entries signified the “final

computation” of the duties (19 C.F.R. § 159.1), the deemed liquidations did not signify a breach

of the terms of the subject bond by Aegis. Indeed, the terms of the bond do not contemplate

liquidation or a deemed liquidation as the event when Aegis must pay the outstanding duties

owed on the bond and therefore cannot operate as the event when Aegis breached the bond. See

Pl. Ex. 1 (Aegis agreed to “[p]ay, as demanded by CBP, all additional duties, taxes, and charges

subsequently found due, legally fixed, and imposed on any entry secured by this bond”). Rather,

pursuant to the terms of the subject bond, the breach occurred when CBP issued a demand for

payment to the surety and the surety failed to pay within the required time period (i.e., when the

bills becomes delinquent for the surety). Only at this point, did liability attach for Aegis.

Therefore, the Government’s cause of action against Aegis did not accrue at the time of the

deemed liquidations.




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       Aegis cites several decisions in support of its measurement of the date of accrual from the

date of the deemed liquidation: Int’l Fidelity Ins. Co., 273 F. Supp. 3d at 1177; United States v.

Am. Home Assurance Co., 151 F. Supp. 3d 1328, 1342–43 (Ct. Int’l Trade 2015), amended, (Ct.

Int’l Trade March 15, 2016) (AHAC 2016), aff’d, Fed. Cir. Appeal No. 18-1960 at Doc. 66

(judgment affirmed Sept. 6, 2019, pursuant to Fed. Cir. Rule 36) 2; United States v. Great Am.

Ins. Co., 791 F. Supp. 2d 1337, 1367–68 (Ct. Int’l Trade 2017). Def. Resp. Br. at 4.

       But, as we demonstrated in our cross-motion for summary judgment (Pl. Br. at 24–26),

none of the cases address the standard set by Cocoa Berkau. 990 F.2d at 613. (“With respect to

a claim arising from a bond . . . the date of accrual occurs at the time of the breach of the bond.”

(citation omitted)). Nor do the cases discuss the relevance of the terms of the bonds at issue, the

date upon which the bonds were breached, or the effect of 19 U.S.C. § 1505(b) on the accrual of

the Government’s right of action. These cases analyzed the date of accrual purely under statutes

governing customs law and never considered basic principles of contract and suretyship law. As

we demonstrated above, “[t]he roles and responsibilities of sureties — including the assumption

of all legal rights — are well-defined within contract law and are applicable to both private and

public contracts.” Guarantee Co. of N. Am., 941 F.3d at 1145–48 (Wallach, J., concurring, and

in which Dyk, J., joins).

       Likewise, Aegis misses the mark in responding to our cross-motion for summary

judgment because it fails to analyze the terms of the bond to determine when the Government’s

cause of action accrued.




2
  Aegis represents that the Court’s decision in AHAC 2016 was “affirmed per curiam” by the
Federal Circuit. Def. Resp. Br. at 4. But this statement requires clarification. As we indicated in
our opening brief (Pl. Br. at 26), the question presented by this lawsuit has never been squarely
resolved by the court of appeals.
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    B. As Required By The Bond, The Demand To Aegis For Payment Is A Necessary
       Element Of The Government’s Cause Of Action Against Aegis

       To avoid the legal implications of the demand language in the continuous bond, Aegis

claims that the language of the bond “did not make Customs’ demand for payment ‘an essential

element of [the Government’s] cause of action.” Def. Resp. Br. at 11 (alteration in original).

Similarly, Aegis contends that section 1505 requires that the “event of liquidation or

reliquidation, not a demand by Customs, triggers the importer’s and surety’s liability for duties.”

Def. Resp. Br. at 6. Both arguments are incorrect.

       First, “a cause of action accrues when all events necessary to state a claim have

occurred.” Commodities Export Co., 972 F.2d at 1270 (Fed. Cir. 1992) (quoting Chevron U.S.A.

v. United States, 923 F.2d 830, 834 (Fed. Cir. 1991)). The case law shows that, when a demand

is mandated as a contractual term of a bond, the demand is a necessary event for the claim.

       For example, in United States v. Insurance Company of North America (INA), the U.S.

Court of Appeals for the District of Columbia Circuit considered when the statute of limitations

commenced under an indemnity bond. United States v. Ins. Co. of N. Am., 83 F.3d 1507, 1508

(D.C. Cir. 1996). 3 The surety claimed that the cause of action accrued when the principal

defaulted on its obligation to pay benefits by filing for bankruptcy, but the Government

maintained that liability did not attach until it made its first demand on the surety for payment.

Id. at 1510. The D.C. Circuit analyzed this issue under the principles of contract law, and looked

to the terms of the bond, reasoning that if the language “envisions an actual demand, the statute

of limitation is set in motion only by such demand.” Id. (internal citations omitted). The bond

terms in INA made the surety’s obligation subject to the “express condition[]” that if the



3
  Aegis sets forth a quote from INA to support its argument (Def. Resp. Br. at 10–11) but fails to
fully analyze the decision.
                                                 8
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principal defaults, then the Government “shall make a written demand upon the Surety to pay.”

Id. Relying on the contractual terms of the bond, the D.C. Circuit held that since “the surety’s

liability is ‘express[ly] condition[ed]’ upon the government’s written demand and that such

demand is made mandatory by the modal ‘shall’ demonstrates that the demand is a prerequisite

to liability and therefore to the running of the statute of limitations.” Id. (alterations in original).

        Similarly, in Cocoa Berkau, the terms of the bond required that the “principal shall

redeliver or cause to be redelivered to [Customs], on demand . . . any and all merchandise found

not to comply with law and regulation governing its admission into the commerce of the United

States.” Cocoa Berkau, 990 F.2d at 613 (emphasis added) (alteration and omission in original).

The Federal Circuit held that the cause of action did not accrue until the principal failed to

redeliver upon a proper demand. Id.; c.f. Commodities Export, 972 F.2d at 1271 (finding that a

demand for payment was not a necessary element of the cause of action because it was not

included as a term of the bond). Therefore, the Court viewed the demand as a necessary event

for the claim.

        In this case, much like the bonds under review in Cocoa Berkau and INA, the terms of the

subject bond mandate that CBP issue a demand to Aegis before it is liable and a cause of action

accrues. The bond states that “[a] bond for basic importation and entry must contain the

conditions listed in this section” including that “the obligors (principal and surety, jointly and

severally) agree to . . . [p]ay, as demanded by CBP . . . .” Pl. Ex. 1; 19 C.F.R. § 113.62(a)(1)(ii)

(emphasis added). Therefore, the demand that Aegis pay the outstanding duties is a necessary

event for the claim against Aegis under the bond, and the cause of action against Aegis does not

accrue until CBP makes a demand for payment against Aegis and Aegis fails to pay the duties

within the time required by law.



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       Second, the terms of the bond at issue in this case mirror the framework of 19 U.S.C. §

1505(b), which “governs the payment of duties and fees on entries of imported merchandise.”

United States v. Am. Home Assurance Co., 100 F. Supp. 3d 1364, 1368 (Ct. Int’l Trade 2015)

(“Once Customs liquidates or reliquidates an entry, any duties and fees . . . due and owing are

payable 30 days after Customs issues a bill.”), aff’d, 857 F.3d 1329, 1335 (Fed. Cir. 2017)

(holding that section 1505 “is directed to the duties and fees due on the merchandise under

bond”).

       The terms of the continuous bond provide, in part, that the surety agrees to “[p]ay, as

demanded by CBP, . . . duties . . . found due.” Pl. Ex. 1. Similarly, section 1505(b) provides in

part, that “[t]he Customs Service shall collect any increased or additional duties and fees due . . .

. Duties, fees, and interest determined to be due upon liquidation or reliquidation are due 30

days after issuance of a bill for such payment.” (emphasis added).

       In United States v. Ataka America, Inc., this Court discussed the significance of the term

“due” as set forth in the bond at issue in that case. United States v. Ataka Am., Inc., 826 F. Supp.

495 (Ct. Int’l Trade 1993). 4 In Ataka, the terms of the bond securing the antidumping duties

stated that the principal and surety were obligated to “pay any and all such duties and taxes

found to be due on the shipment.” Id. at 500. Based upon these bond terms, a breach occurred at

the “time the customs duties became due.” Id. The Court looked to section 1505 for instruction

on when duties are “due,” which at the time stated that “[d]uties determined to be due upon




4
  Contrary to Aegis’s argument that we “distinguish Ataka by pointing out that Congress
amended [section 1505] in a manner that vitiated” its holding (Def. Resp. Br. at 5 n.1), we rely
on Ataka, and extrapolate on its reasoning, which found that duties are “due,” and the
Government’s cause of action accrues, based upon the text of section 1505.
                                                 10
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liquidation or reliquidation shall be due 15 days after the date of that liquidation or

reliquidation.” Id. (quoting 19 U.S.C. § 1505(c) (1988)) (alteration in original).

       Relying on the text of section 1505 at the time, the Court held that “[a]s to the surety, the

government must sue within six years (following the fifteenth day after liquidation)” to

commence a timely action for breach of the bond. Id. at 503. According to Ataka, when the

terms of the bond require payment of duties at the time they are “found to be due,” a breach of

the bond occurs when the surety fails to make payment as per section 1505 (which at the time

was 15 days following liquidation) — not at the time of liquidation. Id. at 500.

       Here, the terms of the continuous bond indicate that Aegis must “[p]ay, as demanded by

CBP, all additional duties, taxes, and charges subsequently found due.” Pl. Ex. 1 (emphasis

added). CBP’s regulations provide that “bills for duties, taxes, fees, interest, or other charges are

due and payable within 30 days of the date of issuance of the bill.” 19 C.F.R. § 24.3(e).

Likewise, section 1505, as amended in 1993 to its current form, provides that duties “are due 30

days after issuance of the bill for such payment.” 19 U.S.C. § 1505(b) (2004). Applying the

logic of Ataka to the facts of this case, the duties were not due from the surety until 30 days after

CBP issued the bill to Aegis as per section 1505, and the breach of the bond by Aegis occurred

when the bill became delinquent. This interpretation is consistent with the bond terms and CBP

regulations which require a demand and payment within 30 days before the bond is breached and

our cause of action accrues. The date of deemed liquidation does not figure into this calculus.

       Finally, the interest provision of section 1505(d) does not detract from this analysis, as

Aegis suggests. Def. Resp. Br. at 7. Although delinquency interest pursuant to section 1505(d)

could relate back and be calculated from liquidation, that would only occur when the importer or

surety violates section 1505(b) (i.e., a bill is issued and goes unpaid). 19 U.S.C. § 1505(d) (“If



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duties, fees, and interest determined to be due or refunded are not paid in full within the 30-day

period specific in subsection [1505(b)], any unpaid balance shall be considered delinquent and

bear interest by 30-day periods, . . . from the date of liquidation . . . .”). Section 1505(d) interest

does not apply if the bill for the entry is timely paid by the importer within 30 days of the bill’s

issuance. Section 1505(d) delinquency interest does not begin to accrue automatically upon

liquidation, but instead is contingent upon the issuance of a bill by the Government. 5 This

dovetails with the framework of the bond in this case. Aegis’s exposure to interest liability

beyond that generated by the importer’s default attached when Aegis breached the terms of its

bond. That breach occurred 30 days after CBP issued the demand for payment and Aegis failed

to pay on demand as required by the terms of the bond. 6

    C. Aegis Disregards The Prevailing Rule Of The Federal Circuit

        The Federal Circuit has held that, “[w]ith respect to a claim arising from a bond . . . the

date of accrual occurs at the time of the breach of the bond.” Cocoa Berkau, 990 F.2d at 613; see

also Commodities Export Co., 972 F.2d at 1270–72 (measuring the date of accrual from the

breach of a bond, rather than a regulatory event). Aegis misapplies Cocoa Berkau and




5 We note that section 1505(d) interest is not a penalty and compensates the Government for the
time value of money when an underpayment of duties occurs. As a general matter, because it is
calculated dating back to the liquidation date, section 1505(d) interest in essence picks up where
pre-liquidation interest under 19 U.S.C. § 1677g leaves off. However, as set out above, an
importer could avoid the accrual of any section 1505(d) interest by paying the amount due within
30 days of receipt of the bill.

6We also note that the interest sureties are liable for in excess of bond limits pursuant to 19
U.S.C. § 580 does not begin to run against a surety until the Government’s first formal demand
for payment, which is also consistent with the fact that the surety’s breach does not occurs until a
demand is issued and goes unpaid. See Am. Home. Assurance Co., 857 F.3d at 1335–36 (Fed.
Cir. 2017) (finding that interest pursuant to section 580 does not begin to run against a surety
until “the government’s first formal demand for payment”).
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Commodities Export in its response to our cross-motion to support its argument that a demand is

not required under this bond for the Government’s cause of action to accrue.

       For instance, Aegis states that “the bond provisions referencing Customs’ demand do not

use the mandatory language needed to make ‘demand’ the event that causes the Government’s

claim to accrue” and that “Customs need not first make a demand under its bond before it can

file its collection action.” Def. Resp. Br. at 11 (citing Cocoa Berkau, 990 F.2d at 613–14;

Commodities Export, 972 F.2d at 1271). Aegis also argues that requiring a demand would

permit the Government to “unilaterally and indefinitely postpone the running of the statute of

limitations.” Def. Resp. Br. at 13 (citing Cocoa Berkau, 990 F.2d at 613; Commodities Export,

972 F.2d at 1271).

       A full examination of these cases, however, demonstrates that the date of accrual for the

Government’s claims against Aegis is measured from when the payment demand to Aegis

became delinquent.

       In Cocoa Berkau, the bond at issue secured the immediate delivery of chocolate. The

terms of the bond required the importer to “redeliver or cause to be redelivered to [Customs], on

demand . . . any and all merchandise found not to comply with law and regulations governing its

admission into the commerce of the United States.” Cocoa Berkau, 990 F.2d at 611 (emphasis

added) (alterations in original). The bond also provided that upon default of redelivery, the

principal and surety would be liable for liquidated damages, as demanded by CBP. Id. When

the chocolate was tested and found to be misclassified at the time of entry, CBP demanded

redelivery within 30 days. Id. at 611. Subsequent to the redelivery demand, the entry of

chocolate was liquidated by CBP and, upon default of redelivery by the principal/importer, CBP

demanded liquidated damages from the surety. Id. at 612.



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        At issue in Cocoa Berkau was “which event, the default of redelivery by the bond

principal or the default of payment of liquidated damages by the bond surety, constituted the

breach of the bond which fixed liability for purposes of triggering the statute of limitations.” Id.

at 613. Ultimately, the Federal Circuit found that “[t]he bond was breached, and thus the

government’s right of action accrued, when the principal failed to redeliver upon proper

demand” by CBP. Id. (emphasis added).

        This holding is significant for purposes of this case because the Federal Circuit did not

find that the date of liquidation triggered the accrual of the cause of action against the principal

or the surety. Id. If it did, the Government’s cause of action in Cocoa Berkau would have been

timely. Id. at 612–13 (entry liquidated on March 18, 1988 and the action was commenced on

August 22, 1991). Rather, the event that the Federal Circuit held constituted a breach of the

bond, and triggered the accrual of the Government’s cause of action, was a default by the

principal after a redelivery demand by CBP. Id. at 613–14. Therefore, the decision shows that a

default on a demand by CBP is an appropriate marker to measure when a bond has been

breached and when a cause of action accrues. Id.

        Here, the terms of the bond require the principal and surety to “[p]ay, as demanded by

CBP, all additional duties, taxes and charges subsequently found due, legally fixed, and imposed

on any entry secured by this bond.” Pl. Ex. 1; 19 C.F.R § 113.62(a)(1)(ii). Consequently, the

failure to pay within the time demanded by CBP results in a breach of the bond, and triggers a

claim against the party in default. 7




7
 We explain in our opening brief the regulatory framework that grants the importer and surety
30 days after demand to make payment. Pl. Br. at 16–17.
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       Moreover, Aegis misinterprets the analysis from Cocoa Berkau. Specifically, Aegis

argues that “[t]he Government cannot unilaterally postpone the accrual of a cause of action,”

citing United States v. SO’s USA Co., 23 CIT 605, 612 (1999), and Cocoa Berkau, 990 F.2d at

614. Def. Resp. Br. at 13. Although this statement is reflected in Cocoa Berkau, the Court

qualified the statement with the phrase, “in the absence of an express agreement between the

parties.” Cocoa Berkau, 990 F.2d at 614. This qualification is consequential because, in this

case, Aegis agreed to the terms of the bond that made liability contingent upon a demand from

CBP. The continuous bond expressly states that the “[p]rincipal and surety agree that they are

bound to the same extent as if they executed a separate bond covering each set of conditions

incorporated by reference to the Customs Regulations into this bond” (e.g., 19 C.F.R. §

113.62(a)(1)(ii)). Pl. Ex. 1. Thus, Aegis expressly agreed to the terms of the continuous bond

that made liability for Aegis contingent upon a demand for payment to the surety, followed by a

failure to pay within the required time period (i.e., when the bills became delinquent for the

surety).

       Aegis also argues that the “courts have likewise repeatedly held that the Government

cannot be permitted to unilaterally and indefinitely postpone the running of the statute of

limitations.” Def. Resp. Br. at 13. Aegis cites the Federal Circuit’s decision in Commodities

Export to support this statement as well as its position that a demand is unnecessary for the

Government’s right of action to accrue. Id. Aegis, however, again fails to provide greater

context for this statement. A more thorough analysis of the Court’s decision shows that the date

of accrual for our claims against Aegis is measured from when the demands for payment to

Aegis became delinquent.




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       In Commodities Export, the interested parties entered into the warehouse bond agreement

to “insure payment of duties and other charges due to runaways and other infractions” relating to

merchandise sold from the principal’s duty-free store located at the Canadian border.

Commodities Export, 972 F.2d at 1268. The bond agreement required the principal and surety to

be jointly and severally liable to pay liquidated damages for each violation of the bond’s terms

— which included CBP approval for the removal of dutiable merchandise and required the

principal to “mark its merchandise correctly and to notify Customs of any inventory

discrepancies.” Id.

       Upon inspection of the merchandise, CBP determined that the principal was in breach of

the bond for failing to properly mark certain entries and failing to notify CBP of inventory

shortages. Id. Subsequently, in accordance with CBP’s regulations, CBP sent a demand for

payment of liquidated damages for breach of the bond that was due within 60 days. Id.

       In the civil action to collect the liquidated damages, the trial court found that the

Government’s cause of action accrued 60 days after the demand for payment by CBP, which was

required under its own regulations. Id. at 1270. However, the Federal Circuit disagreed with the

trial court’s analysis because “the parties [did] not agree[] to conditions on institution of a suit,

rather Customs has unilaterally adopted regulations which delay filing of actions.” Id. at 1271.

The Court continued, “[t]he bond agreement does not require Customs to demand payment or to

send notice before suing [the principal or surety]. The bond does not require Customs to wait 60

days for a response to the demand before suing.” Id. Had the parties “agreed in advance to a

condition on the filing of a suit, the [court would give] effect to that agreement by delaying

accrual of the right of action.” Id. The bond agreement, though, did not require CBP to demand

payment from the principal or surety before suing, it only stated that liquidated damages were



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due “[i]f principal defaults.” Id. at n.2 (alterations in original). The Federal Circuit found that

the default occurred when the principal breached the bond by failing to comply with its terms

regarding proper marking and accounting of its merchandise. Id. at 1272. Consequently, the

limitations period began to run even in the absence of a demand for payment by Customs. Id. at

1271–72 (“No statute requires Customs to give notice of demand for liquidated damages before

suing. . . . The absence of the markings breached the bond.”)

       Here, unlike Commodities Export wherein the demand for liquidated damages was tied to

a regulation and not the bond, in this case, the demand for payment was a term of the bond that

was agreed to by Linyi and Aegis. See Pl. Ex. 1; 19 C.F.R. § 113.62(a)(1)(ii). Thus, the

requirement of a demand prior to payment was a condition agreed to by the parties to the bond.

Failure to pay, after demand by CBP, constituted a breach of the bond’s terms in this case, which

gave rise to Aegis’s liability for statute of limitations purposes. Moreover, 19 U.S.C. § 1505(b)

requires issuance of a bill before duties become due, meaning, unlike the claims at issue in

Commodities Export, a statute requires CBP to issue a demand before suing for payment of

duties and breach does not occur until after said demand goes unpaid.

       Therefore, Cocoa Berkau and Commodities Export show that our cause of action did not

accrue until Aegis breached the terms of the continuous bond at issue in this case by failing to

pay the outstanding antidumping duties after a demand by CBP. In its response brief, Aegis

disregards the rule that “the date of accrual occurs at the time of the breach of the bond” and the

body of case law that supports it.




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III.   THE TERMS OF THE CONTINUOUS BOND DO NOT VIOLATE 19 U.S.C. §§
       1504 AND 1514

       Aegis contends that the Government’s interpretation of the bond terms and 19 U.S.C.

§ 1505(b) is inconsistent with principles of certainty and finality of liquidation found in 19

U.S.C. §§ 1504 and 1514. Def. Resp. Br. at 8–10, 12–16 (Section 1504 “created a statutory

scheme to protect importers and their sureties from undue delay in the liquidation of their entries

by placing strict limits on the amount of time that Customs could take to liquidate an entry and

subject importers and sureties to liability”); (“The purpose of [section 1504] was to give

importers finality as to their duty obligations by providing for deemed liquidation at the rate

claimed by the importers, unless actual liquidation occurred within specific time limits.”);

(“[T]he Government does not have unilateral authority to extend the period for liquidation of an

entry”).

       We agree that the deemed liquidation signifies the “final computation” of the duties. 19

C.F.R. § 159.1. But again, Aegis confuses the time when the amount of duties owed is

mathematically computed with the time when Aegis is liable to pay the outstanding duties.

       As relevant here, section 1504(d) states that “when a suspension . . . order is removed,

[CBP] shall liquidate the entry . . . within 6 months after receiving notice of the removal from

[Commerce] . . . . Any entry . . . not liquidated by [CBP] within 6 months after receiving such

notice shall be treated as having been liquidated at the rate of duty, value, quantity, and amount

of duty asserted by the importer . . . .” 19 U.S.C. § 1504(d). Unless protested within the time

prescribed by law, section 1514 renders the deemed liquidation and the amount of duties owed

final and conclusive. 19 U.S.C. § 1514(a).

       Indeed, sections 1504 and 1514 foreclose an increase in the duty amount owed once the

entries liquidate and become final, but do not speak to the time when those duties are due or

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when a claim accrues against a surety on a bond. As demonstrated above, for the surety, that is

left to the terms of the continuous bond at issue.

        Moreover, although Aegis quotes from the Federal Circuit’s decision in United States v.

Cherry Hill Textiles, Inc., an analysis of the decision demonstrates that it provides little support

for Aegis’s contentions. Def. Resp. Br. at 9, 14, 15. In Cherry Hill, the importer entered the

imported merchandise duty free. United States v. Cherry Hill Textiles, Inc., 112 F.3d 1550, 1551

(Fed. Cir. 1997). Because CBP did not liquidate the entry within one year from the date of entry,

it deemed liquidated pursuant to 19 U.S.C. § 1504. Id. at 1558. However, one month after the

date of deemed liquidation, CBP liquidated the entry for a second time (reliquidated) and

assessed duties — thus increasing the amount owed by the importer. Id. at 1559.

        The Federal Circuit found this second liquidation invalid because “[t]he effect of a

‘deemed liquidation’ is therefore to fix the liability of the importer or surety.” Id. at 1559. “The

‘deemed liquidation’ must therefore be regarded as final. In cases in which a liquidation has

become final, the government cannot seek to recover additional duties simply by making a new

liquidation of the original entry.” 8 Id. at 1560.

        Here, as demonstrated in our opening brief, the Government is not seeking to replace the

deemed liquidations with subsequent reliquidations. Pl. Br. at 28–30; Pl. Ex. 2; Pl. Ex. 3 at

¶¶12–14. This is evident from the instructions on the entry summaries and the explanation of the

procedures taken by CBP in the Ingalls affidavit. Pl. Ex. 2; Pl. Ex. 3 at ¶¶12–14. Furthermore,




8 Due to a statutory amendment to 19 U.S.C. § 1501, which became effective for entries made on
or after December 18, 2004, CBP now has authority to voluntarily reliquidate entries that
liquidated by operation of law within a period of time. Miscellaneous Trade and Technical
Corrections Act of 2004, P.L. 108-429, §§ 2107-08. At the time of the Cherry Hill decision, this
statutory amendment had not yet occurred to permit voluntary reliquidation of entries that
liquidated by operation of law.
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the Government’s complaint and other filings in this action make clear that the Government only

seeks to collect amounts owed pursuant to the deemed liquidation of the entries. Accordingly,

the Government did not seek to replace the deemed liquidations from 2003 and 2004 with new

ones, or collect increased antidumping duties mistakenly billed on these entries. We merely seek

to recover upon this continuous bond for the remaining amount of antidumping duties that are

lawfully owed by Linyi after the single entry bonds satisfied only a portion of the outstanding

debt. Pl. Br. at 26–28.

       That debt was determined at the time of deemed liquidation but was not due to be paid by

Aegis until a demand was issued by CBP as per the terms of the bond and 19 U.S.C. § 1505(b).

       Finally, Aegis argues that permitting the Government to recover upon the continuous

bond it issued would result in “fundamental unfairness” due to the passage of time that has

elapsed since the imported merchandise it secured was entered. Def. Resp. Br. at 15. According

to Aegis, “importers and sureties are entitled to certainty that old debts have been satisfied” and

“Aegis is entitled to . . . take advantage of the period of repose.” Id. However, permitting Aegis

to escape liability for its legally owed debts would frustrate the purpose of the antidumping laws.

       “Dumping” occurs when a foreign manufacturer exports a product into the United States

at a price either below the price charged in its home market or below its cost of production. See

Sioux Honey Ass’n v. Hartford Fire Ins. Co., 672 F.3d 1041, 1046 (Fed. Cir. 2012). The aim of

this predatory pricing is to increase market share or to drive out domestic competition within the

United States. The antidumping statute combats this practice by assessing antidumping duties,

i.e., increased tariffs, on such imports. 19 U.S.C. § 1673. Failing to hold Aegis accountable for

its bond obligations, as Aegis urges, would not only be incorrect as a matter of law but also

frustrate the purpose of the antidumping statute.



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                                        CONCLUSION

       For the foregoing reasons, this Court should grant the Government’s motion for summary

judgment, and enter judgment in its favor for duties and interest pursuant to 19 U.S.C § 1505 in

the total amount of $50,000.00 — the contractual limit of the bond — and interest pursuant to 19

U.S.C. § 580 and post-judgment interest pursuant to 28 U.S.C. § 1961, which are not subject to

the bond limit.

                                             Respectfully submitted,

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Dated: April 23, 2021




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                         CERTIFICATE OF COMPLIANCE

       I, Peter A. Mancuso, an attorney in the Office of the Assistant Attorney General,

Civil Division, Commercial Litigation Branch, International Trade Field Office, who is

responsible for the Government’s reply memorandum in support of Plaintiff’s cross-

motion for summary judgment and in opposition to defendant’s motion for judgment on

the pleadings, dated April 23, 2021, relying upon the word count feature of the word

processing program used to prepare the memorandum, certify that this memorandum

complies with the word count limitation under the Court’s chambers procedures, and

contains 6,877 words.


                                                    /s/ Peter A. Mancuso
